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                              UN ITED STA TES D ISTRICT COU RT
                              SOU THERN D ISTRICT OF FLO RIDA
                               CA SE N O .19-20804-CR-SlN GH A L


    U N ITED STATES OF A M ERICA

           Plaintiff,


    HA NA H CH A N ,

           Defendant.


         O R DER G M N TIN G UN O PPO SED M O T ION FO R CA SH IN LIE U O F R EAL
               PR OPERT Y A S SU BSTITU TE R ES SU BJE CT TO FO R FEITU RE
                                             '
                        .



          THIS CAUSE isbeforetheCourtontheUnited States'M otionForCash inLieu ofReal
   PropertyAsSubstituteResSubjecttoForfeiture,relatingto cashproceeds(theçiproceeds'')from
   the sale ofrealproperty located at4630 Sherwood ForestDrive,Delray Beach,Florida (the
   ($Prope14y'')(DE 201q.TV Courthasconsidered themotion and isotherwiseadvised in the
   premises.Itisthereupon
          ORDERED AND ADJUDGED thatGovernm ent'sUnopposed M otion forCash in Lieu
   ofRealProperty asSubstituteRES SubjecttoForfeitureishereby GRANTED.
                 The Proceeds shallsel'
                                      ve as substitute res forthe Property in thism atter for the
   purposesofforfeiture.
                 TheCourtwillretainjurisdictioh overthismatterto entersuch f'urtherordersas
   maybenecessaryfortfledisposalofpropertysubjecttoforfeiture.
          DONEANDORDEREDatFortLauderdale,Florida,thisY-dayofAugust2022.

                                                     RAA G SFN G HA L                  -
                                                     UNITED STATES DI           CT JIIDGE
   Cc:    Al1counselofrecord



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